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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                  *
                               *
   v.                          *      CRIM. NO. 3:21-cr-792-01(FLW)
                               *
ABDEL CERES                    *
                               *
                             *****
 ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
            FOR FELONY PLEAS AND/OR SENTENCINGS

        In accordance with Standing Order 2020-06, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

  ✔      That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:

1. The parties have worked diligently to reach a resolution through a plea agreement. The
defendant wishes to proceed to sentencing. 2. Safety concerns with conducting in-person hearing for
indefinite period. 3. Consent of defendant.
Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




Date:           October 13, 2021                                   Honorable Freda L. Wolfson, Chief Judge
                                                                   United States District Judge
